                 IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION


UNITED STATES OF AMERICA              )                DOCKET NO. 1:06CR30
                                      )
v.                                    )
                                      )
1) BILLY JOE SANDERS                  )
2) TAMMIE RAINES SANDERS              )
______________________________________)

                               FINAL ORDER OF FORFEITURE

       THIS MATTER is before the Court on the Government’s motion for a final order of

forfeiture. No response has been filed by the Defendants.

       On October 18, 2006, this Court entered a Preliminary Order of Forfeiture pursuant to 21

U.S.C. § 853(n) and Fed. R. Crim. P. 32.2(b), based upon the defendants’ pleas of guilty to

Count One in the Bill of Indictment. In that Count, the defendants were charged with conspiracy

to possess with intent to distribute methamphetamine in violation of 21 U.S.C. § 846.

       On February 12, 2007, the United States published in the McDowell News, a newspaper

of general circulation, notice of this forfeiture and of the intent of the government to dispose of

the forfeited property in accordance with law, and further notifying all third parties of their right

to petition the Court within thirty days for a hearing to adjudicate the validity of any alleged legal

interest in the property. It appears from the record that no such claims have been filed.

       IT IS, THEREFORE, ORDERED that the Government’s motion is ALLOWED.

       IT IS FURTHER ORDERED THAT:

       In accordance with Rule 32.2(c)(2), the Preliminary Order of Forfeiture is confirmed as



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final. All right, title, and interest in the following property, whether real, personal, or mixed, has

therefore been forfeited to the United States for disposition according to law:

       Real property located at 26 Hogan Drive, Old Fort, McDowell County, North

       Carolina, and described in a Deed at Book 647, Page 93, of the McDowell County,

       North Carolina, Public Registry.

                                                  Signed: September 11, 2007




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